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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
 ___________________________________________

 IN RE COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                               Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                                MDL No. 2570
 ___________________________________________

 149 Cases From Five States Listed in Exhibit A
 ___________________________________________

                   COOK DEFENDANTS’ MEMORANDUM IN SUPPORT OF
                 OMNIBUS MOTION FOR SUMMARY JUDGMENT BASED ON
                APPLICABLE STATUTE OF LIMITATIONS FROM FIVE STATES

         The Cook Defendants1 ask the Court to dismiss the 149 cases filed by the plaintiffs listed

 in the attached Exhibit A because they are time-barred pursuant to applicable statutes of

 limitation in their home states. The motion applies to 12 Alabama Plaintiffs, 7 Idaho Plaintiffs,

 40 Michigan Plaintiffs, 59 Texas Plaintiffs, and 31 Virginia Plaintiffs.2

         As the Court has seen firsthand, Plaintiffs have spent millions of dollars on advertising

 for claims against Cook and other filter manufacturers, and the accompanying flurry of filings

 has ballooned this MDL to over 5,000 cases. In many instances, this overarching focus on

 building inventory has come with little regard for the substantive merit of the underlying claims,

 as demonstrated by the proliferation of “no injury” cases on the Court’s docket and the

 widespread failure to recognize and observe applicable statutes of limitation. For example, Cook

 prevailed in the Gage bellwether on summary judgment because the claims in that case were



 1
         As used in this memorandum, “Cook” and “the Cook Defendants” refer to Defendants
 Cook Incorporated, Cook Medical LLC (f/k/a Cook Medical Incorporated), and William Cook
 Europe ApS.
 2
         The 149 plaintiffs listed in Exhibit A are referred to collectively as “Plaintiffs.” As
 necessary, they are referred to individually by their names (i.e. “Plaintiff Boone”) and in groups
 by their home state by adding the state to the term Plaintiffs (i.e. the “Alabama Plaintiffs”).


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 time-barred, a bar that should have been plain to a plaintiff’s attorney screening the case. See

 Orders, Dkts. 7715 & 7809. Similarly, the Court dismissed Plaintiff Valerie Graham’s claims

 because they accrued under Kansas law at the time of her retrieval procedure, and she did not file

 her lawsuit until two years after the statute of limitations on her claims expired. See Entry on the

 Cook Defendants’ Motion of Summary Judgment, Dkt. 164. Most recently, Cook has noted that

 about a quarter of the cases with pending motions to reconsider and/or vacate are time-barred

 under applicable state law. See, e.g., Cook’s Omnibus Opposition, Dkt. 11189 (arguing that five

 cases are time-barred).

         Most standalone cases avoid issues of timeliness because the Federal Rules incent

 counsel to heed these issues: pleading requirements require plaintiffs to set forth a plausible

 claim for relief with sufficient factual background, and Rule 11 imposes a duty on counsel not to

 pursue meritless claims. See generally Fed. R. Civ. P. 8, 9 & 11. In an MDL, however,

 individual pleading requirements are loosened, and the filing of time-barred cases unfortunately

 becomes commonplace because many counsel file cases – often on behalf of online clients from

 far-flung states – without adequate attention to the applicable statutes of limitations.        The

 premise behind this “park and ride” strategy is to park the case on the docket of the MDL and

 ride out the litigation in the hope that a global settlement occurs before anyone digs under the

 surface to test the merits of the case. As one recent MDL court explained: “Some lawyers seem

 to think that their cases will be swept into the MDL where a global settlement will be reached,

 allowing them to obtain a recovery without the individual merit of their case being scrutinized as

 closely as it would if it proceeds as a separate, individual action.” In re Mentor Corp. Obtape

 Transobturator Sling Prods. Liab. Litig., 2016 WL 46704827, at *1 (M.D. Ga. Sept. 7, 2016).




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         Widespread failure to abide by applicable statutes of limitation forces the Court and the

 parties to devote attention to time-barred cases that should never have been filed, straining

 resources and wasting time for the Court, the defendants, and plaintiffs who timely-asserted

 claims. Such failure also makes a global resolution more difficult, because plaintiffs’ attorneys

 demand significant sums to settle time-barred cases that defendants have no choice but to value

 at zero. For reasons such as these, the JPML considers resolution of dispositive motions to be

 the MDL court’s “perhaps most important” task.3

         When Cook has raised timeliness concerns in this MDL, Plaintiffs’ attorneys’ response

 has generally been to invoke the discovery rule or to downplay such concerns as “premature”

 and/or “factual” issues. But such responses threaten to let the exceptions swallow the rule, to the

 point of making the statute of limitations meaningless in every case that does not actually go to

 trial. Docket management is of paramount importance in an MDL, and the proliferation of time-

 barred cases is a considerable strain on moving this litigation forward in an orderly manner.4

 Cook thus urges the Court to intervene on these issues now and to call the necessary balls and

 strikes. Addressing this issue through omnibus motion practice will promote orderly docket


 3
         See JPML & Federal Judicial Center, Ten Steps to Better Case Management, a Guide
 for Multidistrict Litigation Transferee Judges § X(a) (2d ed. 2014), available at
 https://www.fjc.gov/sites/default/files/2014/Ten-Steps-MDL-Judges-2D.pdf.
 4
         Numerous courts have stressed the importance of docket management in an MDL, and
 that is particularly important in a large MDL like this one. See e.g., Dzik v. Bayer Corp., 846
 F.3d 211, 216 (7th Cir. 2017) (“District courts handling complex, multidistrict litigation must be
 given wide latitude with regard to case management in order to achieve efficiency.”) (internal
 citations omitted); In re FEMA Trailer Formaldehyde Prod. Liab. Litig., 628 F.3d 157, 161 (5th
 Cir. 2010) (“The challenge to case administration arose here from the court’s obligation to
 manage thousands of claims against numerous defendants in an efficient and expeditious manner
 that would best serve justice for both plaintiffs and defendants. That multiparty background
 heavily influenced the trial court and permeates this court’s review”); In re Guidant Corp.
 Implantable Defibrillators Prods. Liab. Litig., 496 F.3d 863, 867 (8th Cir. 2007) (“MDL courts
 must be given greater discretion to organize, coordinate and adjudicate its proceedings, including
 the dismissal of cases for failure to comply with its orders”) (internal citations omitted).


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 management and encourage counsel to heed the statute of limitations before filing, as the Federal

 Rules require and as attorneys routinely do in standalone cases.

         Accordingly, Cook asks the Court to begin addressing the statute of limitations issues in

 this MDL by tackling the issue under the law of five states. Legislatures and courts in Alabama,

 Idaho, Michigan, and Virginia have rejected invitations to create loose discovery rule exceptions.

 In these four states, a claim accrues for statute-of-limitations purposes when the claimed injury

 occurs. Because Plaintiffs have identified their claimed injuries in their categorization forms,

 compliance with the statute of limitations in cases subject to the laws of these four states can be

 readily determined by comparing the dates of the medical records Plaintiffs submitted to support

 categorization with the dates the actions were commenced. And although Texas has a limited

 discovery rule, Texas courts have held in the medical device context that discovery of an injury

 on imaging objectively serves to trigger the statute of limitations, and that in any event the

 statute of limitations logically cannot start any later than upon removal of the device. Under

 these standards, the statute of limitations for Texas Plaintiffs’ claims also began to accrue on the

 dates reflected in the medical records submitted in support of categorization. In the 149 cases

 subject to this motion, Plaintiffs have failed to commence their actions within the respective

 statutory periods, and their tort claims fail as a matter of law.

         Because these Plaintiffs’ non-tort claims also fail as a matter of law for other reasons, the

 Cook Defendants are entitled to summary judgment in these cases.

                     STATEMENT OF UNDISPUTED MATERIAL FACTS

         1.     On October 2, 2018, the Court entered its Categorization and Screening Order,

 Dkt. 9322, ordering all MDL plaintiffs to categorize their cases in one of seven categories and to

 support those selections with specific medical records.



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         2.     Through subsequent orders, the Court set deadlines (and later gave multiple

 extensions) and adopted the form that plaintiffs were required to use. See Orders, Dkts. 9638,

 9907 & 10617. In pertinent part, the Case Categorization Form (Dkt. 9638-1) stated that

 “plaintiff[s] may select more than one of the seven categories outlined in the Categorization

 Form, with the understanding that only the ‘highest’ alleged category will be considered for

 purposes of the census ordered by the Court” and that “each category alleged requires a specific

 medical record.” See Dkt. 9638-1.

         3.     The Categorization Form further required that counsel certify that “the

 categorization is based on a review of the available medical records including imaging reports

 and records” and that “submission of the specific medical record(s) … are counsel’s certification

 that the outcome, complication, or injury represented in [the Form] is the proper categorization

 for Plaintiff’s case to the best of counsel’s knowledge and belief.”). Id. at 4.

         4.     All Plaintiffs listed in Exhibit A have provided Categorization Forms and

 supporting records, and they are categorized in the census in Categories 3 to 7. Category 1 cases

 were subject to immediate dismissal under the Categorization and Screening Order and were

 subsequently dismissed (Dkt. 10588), and nearly all Category 2 cases have also been dismissed

 as a result of voluntary dismissals and motion practice.

         5.     Due to the number of cases subject to this motion, the Cook Defendants have

 reviewed Plaintiffs’ short-form complaints, Categorization Forms, and supporting medical

 records, and summarized the relevant information from those materials in Exhibit A.5




 5
        See Fed. R. Evid. 1006 (permitting parties to submit evidence through summaries and
 charts when the information is otherwise cumbersome to present to the Court).

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         6.     Exhibit A provides the following information for all 149 Plaintiffs’ cases:

                •   Plaintiff’s Name;

                •   Plaintiff’s Case Number;

                •   Plaintiff’s Home State (as denoted by the state of current residence and state

                    of alleged injury in the Plaintiff’s complaint);

                •   The placement date for Plaintiff’s filter;

                •   The Plaintiff’s highest category in the census;

                •   A short description of the categories selected in each Plaintiff’s Categorization

                    Form, along with the dates on the specific medical record(s) submitted in

                    support of those claims;6 and

                •   The filing date of Plaintiff’s case.

         7.     Of the 149 cases at issue here, 148 Plaintiffs represent in their complaints that

 they reside in Alabama, Idaho, Michigan, Texas, or Virginia and allege that their injuries

 occurred in their home states. Although Plaintiff Sandra Jackson left the state-specific fields of

 her short-form complaint blank, all available records indicate that she is from Virginia and

 underwent all her relevant medical care in Virginia.7

         8.     In each of the cases on Exhibit A involving Plaintiffs from Alabama, Idaho,

 Texas, and Virginia, the date on which each Plaintiff first filed his or her lawsuit is more than

 6
         As this motion applies to 149 cases, it would have been impractical for the Cook
 Defendants to attach the Case Categorization Forms and supporting records submitted by all
 these Plaintiffs as part of the categorization process. Because these forms and records were
 submitted by Plaintiffs’ attorneys, Cook does not believe there will be any dispute as to their
 contents. To the extent there is any dispute, Cook will address those concerns on reply.
 7
         Cook anticipates that Plaintiffs will maintain that the law of their home states will govern
 their claims, the position the Plaintiffs took in the Hill, Gage, and Brand cases. Thus, to avoid
 the need for complex choice-of-law analyses, the Cook Defendants have streamlined this motion
 by limiting the motion to cases where the Plaintiffs’ states of residence and states of alleged
 injury – as alleged by Plaintiffs in Paragraph 6 of their short-form complaints – are the same.

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 two years after the date of the injury that Plaintiff relies on in the medical record(s) the Plaintiff

 submitted as evidence of injury with that Plaintiff’s categorization form.

         9.     In each of the cases on Exhibit A involving Plaintiffs from Michigan, the date on

 which each Plaintiff filed his or her action is more than three years after the date of the injury

 that Plaintiff relies on in the medical record(s) that the Plaintiff submitted as evidence of injury

 with that Plaintiff’s categorization form.

         10.    As part of summary judgment briefing on the warranty claim in the Gage case,

 the Cook Defendants submitted the Affidavit of Kevin Brines and a copy of the “Cook Invoice

 Terms and Conditions.” See Cook Defendants’ Memorandum in Support of Its Second and

 Renewed Motion for Summary Judgment, Dkt. 7805, pp. 17-18 (Brines Affidavit), p. 28 (copy of

 terms and conditions). Mr. Brines explained in his Affidavit that it “is the ordinary business

 practice of Cook” to include the terms and conditions as part of every filter sale. Id. at 18, ¶ 5.

 He also identified the terms and conditions in effect at the time of Mr. Gage’s filter sale in April

 2011. See id. Those terms and conditions include the following relevant provisions: (1) an

 Indiana choice-of-law rules provision, (2) disclaimer of implied warranties, and (3) reduction of

 the statute of limitations on implied warranties to one year and one day, as permitted by the

 Indiana UCC. See id. at 28.

         11.    With respect to Plaintiffs from the three states that recognize independent breach

 of warranty claims in the personal injury context – Alabama, Michigan, and Texas – there are 11

 Plaintiffs who filed their claims within four years of the date of the filter placement procedures:

 Michigan Plaintiffs Diondrae Boone, George Hubert, and Walter Simpson; and Texas Plaintiffs

 Audra Boggs, Jasmine Bowen, Marcella Brady, Justin Gonzalez, Salvador Lozano, Sharon

 Sharp, Tracy Tapp, and Estate of Annette Weaver. See Exhibit A. However, all 11 of these



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 Plaintiffs received their filters after April 2011, and their filters were accompanied by the “Cook

 Invoice Terms and Conditions” that reduced the limitations period for claims of breach-of-

 warranty claims to one year and one day. See Exhibit A (listing placement dates); Dkt. 7805,

 pp. 17-18, 28.

                                    STANDARD OF REVIEW

         “[S]ummary judgment procedure is governed by federal law” and “[f]ederal law defines

 the standard for evaluating the sufficiency of the evidence.” Maroules v. Jumbo, Inc., 452 F.3d

 639, 645 (7th Cir. 2006). “A district court should grant summary judgment only if the pleadings,

 depositions, answers to interrogatories, admissions, and affidavits ‘show that there is no genuine

 issue as to any material fact and that the moving party is entitled to a judgment as a matter of

 law.” Miller v. A.H. Robins Co., 766 F.3d 1102, 1104 (7th Cir. 1985) (quoting Fed. R. Civ. P.

 56). In evaluating a motion for summary judgment, the court must view the facts and make all

 reasonable inferences that flow from them in a light most favorable to the non-moving party.

 Zillak v. AstraZeneca LP, 324 F.3d 518, 520 (7th Cir. 2003).

         Whether a claim has been brought within the relevant period of limitations presents an

 issue of state law. See In re Bridgestone/Firestone Inc. ATX ATXII, Wilderness Tires Prod. Liab.

 Litig., 2002 WL 31689264, at *2 (S.D. Ind. Nov. 20, 2002) (“As a court sitting in diversity, we

 must look to state law in deciding all matters of substance, including the operation of the relevant

 statutes of limitations.”) (citing Horbach v. Kaczmarek, 288 F.3d 969, 976 (7th Cir. 2002)).

         As noted above, this motion assumes the applicability of the law of the Plaintiffs’

 respective home states, the position Plaintiffs have taken in the bellwether cases.




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                                           ARGUMENT

 I.      Plaintiffs’ Personal Injury Claims Are Time-Barred by The Applicable Statute of
         Limitations in Their Homes States And There Are No Applicable Discovery Rule
         Exceptions To Save Them From Dismissal.

         Cook is entitled to summary judgment on Plaintiffs’ personal injury tort claims (Counts I

 – IV and the wrongful death and survivorship claims in Counts IX – X to the extent applicable)

 because the applicable statutes of limitation bar those claims as a matter of law. Specifically, the

 Alabama, Idaho, Virginia, and Texas Plaintiffs failed to file their cases within the two-year

 statute of limitations in their home states, and the Michigan Plaintiffs failed to file their cases

 within the three-year statute of limitation imposed by that state. The objective approach to

 statutes of limitations issues taken by the courts of these five states precludes as a matter of law

 any argument that these Plaintiffs’ claims accrued at any point after the dates listed in Exhibit A.

         A.     Alabama

         Alabama imposes a two-year statute of limitations on personal injury claims. See Ala.

 Stat § 6-2-38. The Alabama Supreme Court has repeatedly rejected invitations to recognize the

 discovery rule as an exception to this limitation. See Moon v. Harco Drugs, Inc., 435 So.2d 218,

 220 (Ala. 1983) (“This Court has repeatedly held that a cause of action accrues when the injury

 occurs, and in so doing, this Court has refused to accept the so-called ‘discovery rule.’”) (internal

 citation omitted); Payton v. Monsanto Co., 801 So. 2d 829, 835 (Ala. 2001) (“The fact that a

 plaintiff discovers damage for the first time outside the limitations period does not save the

 plaintiff, because this Court has declined to apply a ‘discovery rule.”’). Thus, ‘“the statute of

 limitations begins to run in favor of the party liable from the time the cause of action ‘accrues.’

 The cause of action ‘accrues’ as soon as the party in whose favor it arises is entitled to maintain




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 an action thereon.”’ Moon, 435 So.2d at 220 (quoting Garrett v. Raytheon Co., 358 So.3d 516,

 519 (Ala. 1979)).

         Alabama permits an exception in the context of a “continuous tort,” defined as “a

 defendant’s repeated tortious conduct which [] repeatedly and continuous injure[s] a plaintiff” as

 “when an employer exposes its employee on a continuing basis to harmful substances and

 conditions,” rock quarry blasting cases, or well contamination cases. Moon, 435 So.2d at 220-21

 (collecting cases, internal citations omitted). The continuous tort exception, however, does not

 apply in cases involving implantable medical devices like the IVC filter. See, e.g., Haynie v.

 Howmedica Osteonics Corp., 137 F. Supp. 2d 1292 (S.D. Ala. 2000). In Haynie, the plaintiff

 asked the court to apply the continuous tort exception on grounds that the “tibial insert in [his]

 knee implant underwent a continuous delamination process after it was implanted and that this

 process was the cause of [his] pain.” Id. at 1295. The court rejected that argument, holding that

 “it takes more than a continuous injury to satisfy the continuous tort theory. The tortious

 conduct itself must also be repeated. Here the alleged tortious conduct was a single occurrence,

 the defective, negligent, or wanton design or manufacture of the knee implant.” Id.

         Here, the medical records Plaintiffs submitted in support of their categorizations

 demonstrate that the 12 Alabama Plaintiffs’ claimed injuries occurred more than two years

 before they commenced their respective actions.          See Exhibit A (cases nos. 1 – 12).

 Accordingly, the Alabama statute of limitations bars their claims, and Cook is entitled to

 summary judgment as a matter of law. Moon, 435 So.2d at 220; Payton, 801 So. 2d at 835;

 Haynie, 137 F. Supp. 2d at 1295.




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         B.     Idaho

         Idaho imposes a two-year statute of limitations on personal injury claims, and that statute

 provides that the cause of action subject to the statute “shall be deemed to have accrued as of the

 time of the occurrence, act or omission complained of.” Idaho Code Ann. § 5-219(4). Like

 Alabama, the Idaho Supreme Court has rejected invitations to recognize discovery rule

 exceptions. Theriault v. A.H. Robins Co., Inc., 698 P.2d 365, 370-71 (Idaho 1985) (“Theriault

 asks this Court to engraft a discovery exception to the statute of limitations . . . . This we decline

 to do . . . . Since the 1971 amendment, in deference to the legislative policy expressed therein,

 this Court has consistently refused to create additional discovery exceptions.”).

         The medical records the seven Idaho Plaintiffs submitted with their Categorizations

 Forms demonstrate that their claims accrued more than two years before they commenced their

 respective actions, and thus outside Idaho’s two-year statute of limitations. See Exhibit A (cases

 nos. 13 – 19). The Cook Defendants are therefore entitled to judgment on those claims as a

 matter of applicable Idaho law. See Idaho Code Ann. § 5-219(4); Theriault, 698 P.2d at 370-71.

         C.     Michigan

         Michigan imposes a three-year statute of limitations on personal injury claims. See Mich.

 Comp. Laws. Ann. § 600.5805(10) (“The period of limitations is 3 years after the time of the

 death or injury for all actions to recover damages for the death of a person, or for injury to a

 person or property.”). Michigan courts have rejected a discovery rule to toll this statute, and the

 statute of limitations is triggered when the alleged defects in the product at issue harm the

 plaintiff. See Trentadue v. Buckler Lawn Sprinkler Co., 738 N.W.2d 664, 672 (Mich. 2007)

 (“[C]ourts may not employ an extrastatutory discovery rule to toll accrual.”); Tice v. Zimmer

 Holdings, Inc., 2015 WL 4392985, at *5 (W.D. Mich. July 15, 2015) (“Trentadue makes clear



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 that the accrual date for Plaintiffs’ claims is not tied to their knowledge of the harm . . . . [T]he

 claims accrued when the alleged defects in the Devices harmed Plaintiff. This must have

 occurred before Mr. Tice or his physicians determined that he needed corrective surgery, and

 may have occurred before he was even aware that the Devices were causing problems.”)

 (emphasis in original).

         Here, the medical records Plaintiffs submitted in support of their categorizations

 demonstrate that the 40 Michigan Plaintiffs’ claimed injuries occurred more than three years

 before they commenced their respective actions.           See Exhibit A (cases nos. 20 – 59).

 Accordingly, the Michigan statute of limitations bars their claims, and Cook is entitled to

 summary judgment as a matter of law.           See Trentadue, 738 N.W.2d at 672; Tice, 2015

 WL 4392985, at *5.

         D.     Texas

         Texas imposes a two-year statute of limitations on personal injury claims. See Tex. Civ.

 Prac. & Rem. Code Ann. § 16.003; see also Bell v. Showa Denko K.K., 899 S.W.2d 749, 753

 (Tex. Ct. App. 1995) (“For the purposes of this section, negligence claims normally accrue when

 the duty of ordinary care is breached and strict liability claims generally accrue on the date of the

 injury.”); Valdez v. Hollenbeck, 465 S.W.3d 217, 229 (Tex. 2015) (“[A] cause of action

 generally accrues when a wrongful act causes some legal injury, even if the fact of injury is not

 discovered until later, and even if all resulting damages have not yet occurred.”).

         Although Texas has a limited discovery rule, the rule only applies in cases where “the

 nature of the injury incurred is inherently undiscoverable and the evidence of injury is

 objectively verifiable.” Comput Assocs. Int’l v. Altai, Inc., 918 S.W.2d 453, 456 (Tex. 1996);

 see also Pavich v. Zimmer, Inc., 157 F.3d 903 (5th Cir. 1998) (summary table) (describing the



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 Texas discovery rule as “very limited”). Texas courts interpreting the statute of limitations and

 the discovery rule have made clear that the statute of limitations is analyzed from an objective

 perspective, and discovery of the complication on medical imaging serves as an objective trigger

 for the statute of limitations through which the plaintiff is presumed to know that his or her

 claims have accrued. See Pavich, 157 F.3d 903 (holding that plaintiff’s cause of action accrued

 under Texas law on the day x-rays verified fractures in the implanted spinal rods and dismissing

 claims as untimely); Brandau v. Howmedica Osteonics Corp., 439 F. App’x 317, 322 (5th Cir

 2011) (applying Pavich rule and finding claims timely because x-ray demonstrating that knee

 prosthesis was loose was taken within two years of filing); Rosman v. Zimmer Dental, Inc., 2018

 WL 2335358, at *2 (S.D. Tex. Mar. 1, 2018) (holding that plaintiff “acquired the knowledge he

 needed to discover that he had a cause of action” on the date that “x-rays revealed the fractured

 dental implant,” and dismissing the case as untimely because it was filed “more than four months

 after the two-year statute of limitations had expired.”).

         Courts applying Texas law have also repeatedly held that in the context of implantable

 prescription medical devices, the accrual date for the statute of limitations logically cannot be

 any later than the date of the revision surgery to remove the device. See Shepherd v. Danek

 Med., 1999 WL 1129705, at *1 (S.D. Tex. Aug. 13, 1999) (“[A]ny arguable application of the

 ‘discovery rule’ would terminate upon removal of the System.”); Porter v. Danek Med. Inc.,

 1999 WL 1117090, at *1 (S.D. Tex. Aug. 16, 1999) (same as Shepherd); In re Mentor Corp.

 Obtape Transobturator Sling Prods. Liab. Litig., 2016 WL 1493534, at *4 (M.D. Ga. Apr. 14,

 2016) (MDL court granting summary judgment in two Texas cases on statute of limitations

 grounds because “both Plaintiffs knew or should have known that they suffered some injuries




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 related to the ObTape by the time of their revision surgeries, and that is when their claims

 accrued.”).8

         These cases establish objective markers for determining the timeliness of the filter claims

 asserted by the Texas Plaintiffs here.        Filter complications and alleged injuries such as

 perforation, migration, occlusion, fracture, and occurrence of post-placement DVT/PE are not

 necessarily observable under the naked eye, but they are “objectively verifiable” by medical

 imaging and/or physician examination. Therefore, just like the spinal-rod fracture in Pavich, the

 dental-implant fracture in Rosman, and the knee-implant loosening in Brandou, filter claims

 accrue under Texas law when the complication and/or injury complained of is demonstrated on

 imaging or otherwise diagnosed in medical records. See Pavich, 157 F.3d 903; Brandau, 439 F.

 App’x at 322; Rosman, 2018 WL 2335358, at *2.

         Moreover, although the need for a filter’s retrieval or the fact of a filter’s irretrievability

 may be diagnosed before a filter retrieval procedure is scheduled, retrievability-based claims

 (i.e., Category 4 unable to retrieve claims; Category 5 failed retrieval, complex retrieval, and

 difficult retrieval claims; and Category 7(k) open removal claims) accrue under Texas law at the

 latest on the date of the retrieval procedure or the physician’s recommendation that filter removal

 cannot and/or should not be attempted, as memorialized in records.              See Shepherd, 1999

 WL 1129705, at *1 (holding that claims accrued no later than the date of the revision surgery);

 Porter, 1999 WL 1117090, at *1 (same); In re Mentor Corp, 2016 WL 1493534, at *4 (same).




 8
         This Court reached the same conclusion under Kansas law when it granted summary
 judgment in Plaintiff Valerie Griffiths’s case early on in the MDL. See Dkt. 164 (“The injuries
 described in her Complaint . . . were known to her immediately after her September 9 surgery.
 The limitations period, therefore, expired on or about September 10, 2013, nearly two years
 before she filed her Complaint.”).

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         Applying this caselaw here, the personal injury claims of the 59 Texas Plaintiffs are

 time-barred because the medical records they submitted with their Categorization Forms show

 that their claimed injuries occurred more than two years before they commenced their respective

 cases. See Exhibit A (cases nos. 60 – 118). The Cook Defendants are therefore entitled to

 summary judgment on these Plaintiffs’ claims.

         E.     Virginia

         Virginia imposes a two-year statute of limitations on personal injury claims. See Va.

 Code Ann. § 8.01-230 (“In every action for which a limitation period is prescribed, the right of

 action shall be deemed to accrue and the prescribed limitation shall begin to run from the date

 the injury is sustained and in the case of injury to the person or damage to property.”); Smith v.

 Danek Med., 47 F. Supp. 2d 698, 701 (W.D. Va. 1998) (“Under Virginia law, the limitation

 period begins to run when the injury, no matter how slight, is sustained and regardless of whether

 more substantial injuries occur later…”).      And like the first three states discussed above,

 “Virginia does not follow a ‘discovery rule’ in applying the statute of limitations . . . . The

 statute of limitations begins to run at the date of injury even if no diagnosis was made or

 communicated to the plaintiff until later.” Id. (internal citations omitted); see also Joyce v. A.C.

 & S, Inc., 591 F. Supp. 449, 452 (W.D. Va. 1984) (explaining that Virginia courts have “rejected

 any rule which would commence the running of the statute of limitations on the date of discovery

 of the injury, or on the date when the injury should have been discovered by in the exercise of

 reasonable diligence . . . . Rather, if expert medical testimony demonstrates that the injury – the

 damage – occurred before the time when the disease manifested itself by symptoms, such as

 pain, discomfort, or impairment of functions, the statute begins to run from the earlier date.”).




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         Here, the medical records Plaintiffs submitted in support of their categorizations

 demonstrate that the 31 Virginia Plaintiffs’ claimed injuries occurred more than two years before

 they commenced their respective actions. See Exhibit A (cases nos. 119 – 149). Accordingly,

 the Virginia statute of limitations bars their claims, and Cook is entitled to summary judgment as

 a matter of law. Accordingly, the Court should grant summary judgment in Cook’s favor in

 these cases. See Va. Code Ann. § 8.01-230; Smith, 47 F. Supp. 2d at 701; Joyce, 591 F. Supp. at

 452.

 II.     Plaintiffs’ Non-Tort Claims Also Fail as a Matter of Law.

         Although Plaintiffs’ Master Complaint asserts and Plaintiffs’ short-form Complaints

 adopt some non-tort-based claims, all those claims likewise fail as a matter of law. These

 ancillary claims thus do not preclude entry of summary judgment in Cook’s favor in these cases.

         A.     Plaintiffs’ Express Warranty Claims Fails Because, as the Court Has
                Previously Ruled, the Master Complaint Fails to State Sufficient Allegations
                to Support This Claim.

         Plaintiffs’ express warranty claims (Count V) fail because neither the Master Complaint

 nor the short-form complaints allege any express warranties about the performance of Cook’s

 IVC filters.

         The Court has already addressed this issue in the context of Texas-based Plaintiff Emily

 Apple’s express warranty claim, holding that the Master Complaint and plaintiff’s short-form

 complaint failed to sustain a claim for express warranty and noting that “the omission of her

 specific warranty allegations is fatal.”   See Court’s Entry on Motion for Judgment on the

 Pleadings Based on the Statute of Repose, Dkt. 4918, pp. 13-14 (rejecting Plaintiff Apple’s

 express warranty arguments).      The Court also held that “even if she had included such

 allegations in her Short Form Complaint, her claim would not survive” because she failed to



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 allege who made the alleged verbal warranty or claim that she relied on the Cook written

 materials. Id. In the Brand case, Plaintiff Brand did not even attempt to defend her express

 warranty claim, and the Court readily granted Cook summary judgment on the claim. See Entry

 on Defendants’ Motion for Summary Judgment, Dkt. 9696.

         Because the general assertions in the Master Complaint cannot sustain a claim for express

 warranty and, as far as Cook can determine, Plaintiffs have not asserted case-specific express

 warranty allegations in their individual complaints,9 Cook is entitled to dismissal of Plaintiffs’

 express-warranty claims.

         B.     Plaintiffs’ Implied Warranty Claims Fail as a Matter of Law Because of
                Merger in Idaho and Virginia and Lack of Timeliness Under the Reduced
                One-Year-and-One-Day Limitations Period.

         Plaintiffs’ implied warranty claims (Count VI) fail as a matter of law in all 149 of the

 cases at issue here. Regarding the Idaho and Virginia Plaintiffs, state law merges their implied

 warranty claims into the product liability claims for statute of limitations purposes, and those

 claims are time-barred for the reasons stated above in Sections I.B. and I.E respectively. With

 respect to claims brought by Plaintiffs from the other three states, their implied warranty claims

 are untimely because implied warranties arise out of the sale of the filter and, as the Court ruled

 in the Gage bellwether, the statute of limitations for implied warranties was reduced as a

 condition of sale to one year and one day. As this one year and one day period (as measured

 from the delivery of the filters) is shorter than the two-to-three-year personal injury statutes of




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         Cook notes that Plaintiff Apple attempted to support her express warranty claim against
 Cook’s motion by citing the Cook Patient Guide and an alleged oral warranty, but the Court
 nevertheless found her express warranty claim inadequate as plead. See Dkt. 4918 at 14-15.
 Here, the Plaintiffs do not allege even those insufficient grounds for an express warranty claim,
 and a fortiori fail as a matter of law.

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 limitation in these states (discussed above), these Plaintiffs’ implied breach of warranty claims

 are likewise time-barred.

                1.      The Idaho and Virginia Plaintiffs’ implied warranty claims are
                        merged with their time-barred product liability claims.

         The Idaho Supreme Court has explained that “[t]he UCC’s warranty provisions were not

 meant to govern cases such as this one where there is no privity of contract between the plaintiff

 and the defendant, and the plaintiff does not qualify as a third party beneficiary of the seller’s

 warranty . . . .” Oats v. Nissan Motor Corp., 879 P.2d 1095, 1102 (Idaho 1994). Put differently,

 Idaho retains the privity requirement for warranty claims, and “when a plaintiff brings a

 non-privity breach of warranty action against a manufacturer or seller to recover for personal

 injuries allegedly sustained as a result of a defective product, that action is one for strict liability

 in tort, governed by the provisions of the [Idaho Product Liability Reform Act].” Id. at 1105

 (holding that plaintiff’s “warranty action to recover for personal injuries is essentially a strict

 liability claim in tort, and it should be governed by the provisions of the IPLRA, including the

 IPLRA’s statute of limitations, rather than the provisions of the UCC.”).

         Similarly, the Virginia statute of limitations governing warranty claims merges the statute

 of limitations for implied warranty claims premised on personal injury with the general personal

 injury statute analyzed above. The statute provides in pertinent part that “as to any action to

 which § 8.2-725 of the Uniform Commercial Code is applicable, the section shall be controlling

 except that in product liability actions for injury and for injury to property, other than the

 property subject to the contract, the limitation prescribed in § 8.01-243 shall apply.” See Va.

 Code Ann. § 8.01-246.        The general two-year personal injury confirms its application to

 warranty claims: “Unless otherwise provided in this section or by other statute, every action for

 personal injuries, whatever the theory of recovery, and every action for damages resulting from


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 fraud, shall be brought within two years after the cause of action accrues.” Va. Code Ann.

 § 8.01-243 (emphasis added).

         For these reasons, the Idaho and Virginia Plaintiffs cannot maintain independent breach-

 of-warranty claims, and the applicable statute of limitations is the general personal injury statute

 of limitations respectively analyzed in Sections I.B. and I.E. above. See Oats, 879 P.2d at 1105;

 Va. Code Ann. §§ 8.01-243, 246. As discussed above, the Idaho and Virginia Plaintiffs failed to

 commence their actions within the two years required by those statutes.

                2.      Plaintiffs’ implied breach of warranty claims are time-barred under
                        the contractual one year and one day statute of limitations.

         Alabama, Michigan, and Texas have all adopted the presumptive 4-year statute of

 limitations for breach of warranty claims arising under the UCC, as measured from the date of

 sale or delivery of the product. See Ala. Stat § 7-2-725(1); Mich. Comp. Laws Ann. § 440.2725;

 Tex. Bus. & Com. Code Ann. § 2.725. As the Court can readily see by comparing the filter

 placement dates – logically, the latest possible delivery or sale date for the filters – to the filing

 dates, the implied warranty claims are time-barred for nearly all Plaintiffs listed in Exhibit A.

 For example, the first two Plaintiffs in the list – Plaintiffs Anderson-Kuhn and Davidson –

 received their filters in 2010 and 2007 respectively, but they did not file their actions until 2016,

 approximately six and nine years later. See Exhibit A (cases nos. 1 – 2). In fact, all of the

 Alabama Plaintiffs, 37 of the 40 Michigan Plaintiffs, and 51 of the 59 Texas Plaintiffs filed their

 claims more than four years after the placement date of their filters, and their claims would be

 time-barred under those statutes. See id.10



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        The only 11 Plaintiffs who commenced their actions within four years of the placement
 date alleged in the complaint are Michigan Plaintiffs Diondrae Boone (10.2.2015), George
 Hubert (9.19.2013) and Walter Simpson (11.26.2014); and Texas Plaintiffs Audra Boggs
 (5.14.2014), Jasmine Bowen (1.15.2014), Marcella Brady (3.13.2013), Justin Gonzalez

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         As the Court may recall from the Gage bellwether, however, Cook’s filters are sold to

 hospitals with a “Cook Invoice Terms and Conditions,” terms that include a choice-of-law

 provision applying Indiana law, disavow the existence of any implied breach of warranties, and

 reduce the limitations period for any warranty claims to one year and one day, as permitted under

 Indiana’s UCC. See Ind. Code § 26-1-2-725; Cook Defendants’ Memorandum in Support of Its

 Second and Renewed Motion for Summary Judgment, Dkt. 7805, pp. 2-4, 5-9 (discussing the

 terms and conditions and attaching affidavit of Kevin Brines (id. at 17-18) and a copy of the

 terms and conditions (id. at 28), among other exhibits). In his affidavit, Mr. Brines states that

 including the terms and conditions “is the ordinary business practice of Cook” for filter sales.

 Dkt. 7805 at 18, ¶ 5. Mr. Brines also identified the terms and conditions in effect at the time of

 Mr. Gage’s filter sale in April 2011. See id. After oral argument on these issues, the Court

 granted summary judgment on the implied warranty claim in the Gage case (the last remaining

 claim) and dismissed the case. See Order on Cook’s Second and Renewed Motion for Summary

 Judgment, Dkt. 7809.

         The 11 Plaintiffs from these states who filed their cases within the presumptive four-year

 statute of limitations all received their filters in May 2011 or later (indeed, all but one of them

 received their filters in 2013 or later). See SUMF, ¶ 11; supra n. 7 (listing these 11 Plaintiffs and

 their placement dates). Because all these Plaintiffs received their filters after May 2011 and

 Cook has included the Cook Invoice Terms and Conditions since at least April 2011, the

 contractual limitation period of one year and one day applies to these Plaintiffs’ claims, and they

 are time-barred under that provision. Accordingly, the Cook Defendants are entitled to summary

 judgment on all implied warranty claims in these cases.


 (2.21.2013), Salvador Lozano (12.2.2014), Sharon Sharp (12.12.2013), Tracy Tapp (3.28.2016),
 and Estate of Annette Weaver (5.10.2011).

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           C.       Plaintiffs’ Consumer Fraud Claims Fail Because They Are Not Plead With
                    The Particularity Required By Federal Rule of Civil Procedure 9(b).

           Plaintiffs’ fraud-based consumer protection claims (Count VII) fail as a matter of law

 because Plaintiffs failed to plead them with the particularity required by Fed. R. Civ. P. 9(b).

 Federal case law makes clear that plaintiffs in federal court on diversity grounds must plead their

 fraud-based consumer-protection claims with particularity. That is, “when fraud is alleged, it

 must be done with particularity and plead the who, what, when, where, and how of the alleged

 fraud.”        Uni*Quality, Inc. v. Infotronx, Inc., 974 F.2d 918, 923 (7th Cir. 1992); In re

 Bridgestone/Firestone, Inc. Tires Prod. Liab. Litig., 155 F. Supp. 2d 1069, 1109 (S.D. Ind. 2001)

 (dismissing claims under Michigan and Tennessee consumer protection statutes for failure to

 meet the heightened pleading requirements of Rule 9(b), including failure to allege “individual

 reliance”).

           This Court has not yet needed to rule on this issue because all the bellwether Plaintiffs

 whose cases have approached trial have voluntarily abandoned their consumer fraud claims.

 Cook briefed the issue in the context of motion practice on the Category 2 cases, but those cases

 were likewise dismissed without substantive opposition on the Rule 9 issue regarding the

 consumer protection claims.

           Federal courts in all five of the states at issue here have held that claims under those

 states’ consumer protection and consumer fraud statutes sound in fraud and must be pled with

 particularity under Fed. R. Civ. P. 9(b). For example, in Alabama, the Alabama Deceptive Trade

 Practices Act (ADTPA) “is a statutory substitute for fraud claims in the specific circumstances

 set forth in [the statute],” Phillips v. Hobby Lobby Stores, Inc., 2018 WL 4635746, at *8 (N.D.

 Ala Sept. 27, 2018), and “[p]ursuant to Rule 9(b) of the Alabama Rules of Civil Procedure and

 Rule 9(b) of the Federal Rules of Civil Procedure, fraud must be averred with particularity,”


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 Waldrup v. Hartford Life Ins. Co., 598 F. Supp. 2d 1219, 1227 (N.D. Ala 2008). See also

 Holmes v. Behr Process Corp., 2015 WL 7252662, at *2 (N.D. Ala. Nov. 17, 2015) (holding that

 while plaintiff on the third attempt had “state[d] these claims with more particularity than in her

 earlier efforts, each [claim still failed] to state a claim that meets the Rule 9(b) standard or the

 ADTPA standard.”).

         Federal courts in Idaho, Michigan, Texas, and Virginia have likewise held that those

 states’ consumer protection claims sound in fraud and must be pled with particularity, and courts

 have regularly dismissed such claims when plaintiffs fail to do so. See Gibson v. Credit Suisse

 AG, 2012 WL 1253007, at *2 (D. Idaho Mar. 30, 2012) (“In addressing the Consumer Protection

 Act Claim, the Report acknowledged that fraud claims must be plead with a certain level of

 specificity and particularity.”) (internal citation omitted); Tuttle v. Treasure Valley Marine, Inc.,

 2016 WL, 3198230, at *2 (D. Idaho June 8, 2016) (“As discussed above, allegations involving

 fraud, such as this [Idaho Consumer Protection Act claim], must be accompanied by the ‘who,

 what, when, where, and how’ of the misconduct charged.”); Home Owners Ins. Co. v. ADT LLC,

 109 F. Supp. 3d 1000, 1009 (E.D. Mich. 2015) (“Because Plaintiff’s claim for violation of the

 MCPA does not meet Rule 9(b)'s heightened pleading requirements, this claim will be

 dismissed.”); Peacock v. AARP, Inc., 181 F. Supp. 3d 430, 435 (S.D. Tex. 2016) (“Claims

 alleging violations of the Texas Insurance Code and the DTPA and those asserting fraud,

 fraudulent inducement, fraudulent concealment, and negligent misrepresentation are subject to

 the requirements of Rule 9(b)”) (citing Frith v. Guardian Life Ins. Co. of Am., 9 F. Supp. 2d 734,

 742 (S.D.Tex.1998)); BHR Recovery Communities, Inc. v. Top Seek, LLC, 355 F. Supp. 3d 416,

 424 (E.D. Va. 2018) (“As a claim sounding in fraud, Federal Rule of Civil Procedure

 9(b) requires plaintiffs to plead VCPA claims with particularity.”); Fravel v. Ford Motor Co.,



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 973 F. Supp. 2d 651, 656 (W.D. Va. 2013) (same holding as BHR Recovery Communities, Inc.

 and further noting that “[f]ailure to comply with Rule 9b’s pleading standard is treated as a

 failure to state a claim under Rule 12(b)(6).”) (internal citation omitted).

         Here, Plaintiffs’ Master Complaint makes only the most general of allegations about

 Cook’s allegedly fraudulent conduct:

                 Defendants misrepresented the alleged benefits and characteristics of
         Cook’s IVC Filters; suppressed, omitted, concealed, and failed to disclose
         material information concerning known adverse effects of Cook’s IVC Filters;
         misrepresented the quality and efficacy of Cook’s IVC Filters as compared to
         much lower-cost alternatives; misrepresented and advertised that Cook’s IVC
         Filters were of a particular standard, quality, or grade that they were not;
         misrepresented Cook’s IVC Filters in such a manner that later, on disclosure of
         the true facts, there was a likelihood that Plaintiffs would have opted for an
         alternative IVC Filter or method of preventing pulmonary emboli.

 Dkt. 213, ¶ 116. These allegations contain no allegations of the who, what, or how of the alleged

 misrepresentations, and thus fail to meet Rule 9’s particularity requirement.        None of the

 Plaintiffs’ short-form complaints provides any additional or more specific allegations; they

 simply adopt the Master Complaint’s vague allegations. Because Plaintiffs have offered only

 vague, general allegations in support of their consumer fraud claims, those claims fail as a matter

 of law, and the Court should grant summary judgment in Cook’s favor on these claims. See

 Holmes, 2015 WL 7252662, at *2; Gibson, 2012 WL 1253007, at *2; Tuttle, 2016 WL, 3198230,

 at *2; Home Owners Ins. Co., 109 F. Supp. 3d at 1009; Peacock, 181 F. Supp. 3d at 435; BHR

 Recovery Communities, Inc., 355 F. Supp. 3d at 424; Fravel, 973 F. Supp. 2d at 656.

         D.     Plaintiffs’ Derivative Claim for Loss of Consortium and Punitive Damages
                Fail Because They Cannot Stand on Their Own.

         Finally, Plaintiffs’ claims for loss of consortium (Count VIII) and punitive damages

 (Count XI) fail as a matter of law because they are derivative claims that cannot stand on their

 own. See e.g., Flying J Fish Farm v. Peoples Bank of Greensboro, 12 So. 3d 1185, 1196 (Ala.


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 2008) (“A loss-of-consortium claim is derivative of the claims of the injured spouse. Therefore,

 [the wife’s] claim must fail if [the husband’s] claims fail.”); Runcorn v. Shearer Lumber Prods.,

 Inc., 690 P.2d 389, 394 (Idaho 1984) (“The claim for loss of consortium is a wholly derivative

 cause of action contingent upon a third party’s tortious injury to a spouse.”); DeGrate v. Exec.

 Imprints, Inc., 261 S.W.3d 402, 412 (Tex. Ct. App. – Tyler Div. 2008) (“When a loss of

 consortium is derived from an injury to the spouse, the claim is derivative and thus, must fail if

 the injured spouse’s claims against the defendant fails.”); Benavides v. Cty. of Wilson, 955 F.2d

 968, 975 (5th Cir. 1992) (finding that summary judgment against non-derivative claim also

 barred the derivative loss of consortium claim).

         In the MDL context, the District of Minnesota dismissed loss of consortium claims as

 derivative when it dismissed the entire master complaint in an MDL involving a PMA device

 due to federal preemption:

         Claims such as loss of consortium … do not appear to fit neatly into any of the
         aforementioned categories. Nevertheless, the Court agrees with Medtronic that
         any claims in the Complaint not addressed above are derivative of Plaintiffs’ other
         claims and hence cannot stand.

 In re Medtronic, Inc. Sprint Fidelis Leads Prod. Liab. Litig., 592 F. Supp. 2d 1147, 1165 (D.

 Minn. 2009), aff’d, 623 F.3d 1200 (8th Cir. 2010).

         Here, as discussed above, all of the Plaintiffs’ substantive claims fail as a matter of law,

 and the derivative loss of consortium and punitive damages claims fail along with those

 substantive claims. See e.g., Flying J Fish Farm, 12 So. 3d at 1196; Runcorn, 690 P.2d at 394;

 DeGrate, 261 S.W.3d at 412; Benavides, 955 F.2d at 975; In re Sprint Fidelis Leads, 592 F.

 Supp. 2d at 1165. Accordingly, the Cook Defendants are also entitled to summary judgment on

 these derivative claims.




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                                           CONCLUSION

         For the foregoing reasons, the Cook Defendants are entitled to summary judgment on the

 claims brought by these 149 Plaintiffs. The terms of dismissal should be the same as those

 recently used for the dismissal of Category 1 and Category 2 cases:

         (1)    In cases where the filter has been removed, the dismissal should be with

 prejudice.

         (2)    In cases where the filter remains placed in the plaintiff’s body, the dismissal

 should be with prejudice as to all claims, injuries, complications, and outcomes alleged in

 Plaintiffs’ short-form complaints, PPS forms, and Categorization Forms to date. With respect to

 re-filing in the event of a future injury, the Court should allow re-filing only in the Southern

 District of Indiana within the applicable statute of limitations period.

                                                Respectfully submitted,


 Dated: August 2, 2019                          /s/ Andrea Roberts Pierson
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on August 2, 2019, a copy of the foregoing brief was filed

 electronically and notice of the filing of this document will be sent to all parties by operation of

 the Court’s electronic filing system to CM/ECF participants registered to receive service in this

 matter. Parties may access this filing through the Court’s system.



                                                         /s/ Andrea Roberts Pierson




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